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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                FORT PIERCE DIVISION

  LAUREN PEOPLES, for herself and on behalf
  of those similarly situated,

        Plaintiff,
                                                      Case No.:
  vs.

  TURTLEFTPIERCE, LLC, a Florida Limited
  Liability Company, d/b/a THIRSTY TURTLE
  SEAGRILL, PANHANDLERS, INC., a
  Florida Profit Corporation, d/b/a THIRSTY
  TURTLE SEAGRILL, TURTLE SPORT,
  INC., a Florida Profit Corporation, d/b/a
  THIRSTY TURTLE SEAGRILL, TURTLE
  PARTNERS, LLC, a Florida Limited Liability
  Company, d/b/a THIRSTY TURTLE
  SEAGRILL.

        Defendants.
  _________________________________/

                VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, LAUREN PEOPLES, (“Plaintiff”), for herself and on behalf of those similarly

  situated, hereby files this Verified Complaint against Defendants, TURTLEFTPIERCE, LLC,

  d/b/a THIRSTY TURTLE SEAGRILL, (“TURTLEFTPIERCE”), PANHANDLERS, INC., d/b/a

  THIRSTY TURTLE SEAGRILL (“PANHANDLERS”), TURTLE SPORT, INC., d/b/a

  THIRSTY TURTLE SEAGRILL, (“TURTLE SPORT”), and TURTLE PARTNERS, LLC, d/b/a

  THIRSTY TURTLE SEAGRILL, (“TURTLE PARTNERS”), (collectively, “Defendants” or

  “THIRSTY TURTLE”), and states as follows:

                                 JURISDICTION AND VENUE

         1.      Jurisdiction in this Court is proper as the claims are brought pursuant to the Fair

   Labor Standards Act, as amended (29 U.S.C. §201, et seq.) (“FLSA”) to obtain declaratory
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   relief, a judgment against Defendants as to liability, recover unpaid wages, liquidated damages,

   and reasonable attorneys’ fees and costs.

            2.    The jurisdiction of the Court over this controversy is proper pursuant to 28

   U.S.C. §1331, as Plaintiff’s claims arise under 29 U.S.C. §216(b).

            3.    Venue is proper in this Court because Plaintiff resides within the District,

   Defendants maintain business operations within the District, and Plaintiff’s claims accrued in this

   District.

                                          INTRODUCTION

            4.    Plaintiff brings this action pursuant to 29 U.S.C. § 216(b), 29 U.S.C. §206, and 29

   U.S.C. §207.

            5.    The Defendants in this case violated the FLSA by failing to pay Plaintiff and other

   similarly situated servers and bartenders the proper minimum wage and overtime compensation for

   all hours worked.

            6.    This action is intended to include each and every hourly-paid bartender/server who

   worked for THIRSTY TURTLE at any of their three locations at any time within the past three (3)

   years.

            7.    The jurisdiction of the Court over this controversy is proper pursuant to 28 U.S.C. §

   1331 as these claims arise under 29 U.S.C. §216(b).

                                               PARTIES

            8.    At all times material to this action, Plaintiff was, and continues to be a resident of

   St. Lucie County, Florida.

            9.    At all times material to this action, TURTLEFTPIERCE, LLC, was and continues

   to be a Florida Limited Liability Company. Further, at all times material to this action, Defendant




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   TURTLEFTPIERCE was, and continues to be, engaged in business in Florida, doing business, in

   St. Lucie County, Florida.

          10.     TURTLEFTPIERCE is currently listed with the Florida Department of State,

   Division of Corporations, as an “Active” business, at 108 N 2nd ST, Fort Pierce, FL, as its

   principal address. See Corporation search result attached hereto as Exhibit A.

          11.     At all times material to this action, PANHANDLERS, was and continues to be a

   Florida Profit Corporation. Further, at all times material to this action, Defendant

   PANHANDLERS was, and continues to be, engaged in business in Florida, doing business, in

   Palm Beach County, Florida. See Corporation search result attached hereto as Exhibit B.

          12.     At all times material to this action, TURTLE SPORT, was and continues to be a

   Florida Profit Corporation. Further, at all times material to this action, Defendant

   TURTLEFTPIERCE was, and continues to be, engaged in business in Florida, doing business,

   in St. Lucie County, Florida. See Corporation search result attached hereto as Exhibit C.

          13.     At all times material to this action, TURTLE PARTNERS, was and continues to

   be a Florida Limited Liability Company. Further, at all times material to this action, Defendant

   TURTLE PARTNERS was, and continues to be, engaged in business in Florida, doing business,

   in St. Lucie County, Florida. See Corporation search result attached hereto as Exhibit D.

          14.     At all times material to this action, THIRSTY TURTLE SEAGRILL is a

   fictitious name owned by Defendants TURTLEFTPIERCE, LLC, PANHANDLERS, INC.,

   TURTLE SPORT, INC., and TURTLE PARTNERS, LLC, which are registered and continue to

   be engaged in business in Florida, doing business in Palm Beach and St. Lucie Counties,

   Florida.




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          15.     THIRSTY TURTLE SEAGRILL is currently listed with the Florida Department

   of State, Division of Corporations, as a Fictitious Name owed by TURTLEFTPIERCE, LLC,

   PANHANDLERS, INC., TURTLE SPORT, INC., and TURTLE PARTNERS, LLC. See

   Fictitious Name search result attached hereto as Exhibit E.

          16.     THIRSTY TURTLE is an enterprise engaged in the hospitality industry, and

   specifically in the operation of restaurants.

          17.     Defendants operate Thirsty Turtle locations at 108 N 2nd ST, Fort Pierce, FL, and

   13981 US HWY 1, Juno Beach, FL 33408. Upon information and belief, these two locations, as

   well as another Thirsty Turtle location at 2825 SW Port St Lucie Blvd, Port Saint Lucie, FL

   34953, share common ownership and management, and share employees.

          18.     Ronald Paranzino and/or Joseph Paranzino are managers, members, or officers of

   TURTLEFTPIERCE, PANHANDLERS, TURTLE SPORT, and TURTLE PARTNERS, and,

   upon information and belief, maintain the power to direct, restrict, regulate, govern, or

   administer the performance of each of the three locations operating as Thirsty Turtle.

          19.     Upon information and belief, the activities of the three Thirsty Turtle locations

   operate under unified operation or common control, and are performed for a common business

   purpose of providing Thirsty Turtle restaurant services in Palm Beach and St. Lucie Counties.

          20.     Upon information and belief, the policies and practices described herein with

   respect to the Ft. Pierce Thirsty Turtle location occurred in Thirsty Turtle’s other two locations,

   because the same individuals were responsible for creation and implementation of these policies

   in each location.

          21.     At all times material to this action, Plaintiff was an “employee” of THIRSTY

   TURTLE within the meaning of the FLSA.




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           22.    At all times material to this action, Defendants were Plaintiff’s “employer”

   within the meaning of the FLSA.

           23.    Defendants were, and continue to be, an “employer” within the meaning of the

   FLSA.

           24.    At all times material to this action, Defendants were, and continue to be, an

   “enterprise engaged in commerce” and/or an enterprise engaged in the “handling, selling, or

   otherwise working on goods and materials that have been moved in or produced for commerce

   by any person” within the meaning of the FLSA.

           25.    Based upon information and belief, the annual gross revenue of Defendants was

   in excess of $500,000.00 per annum in each of the three years preceding the filing of the

   Complaint in this action.

           26.    At all times material to this action, Defendants had two (2) or more employees

   handling, selling, or otherwise working on goods or materials that had been moved in or

   produced for commerce such as cash registers, telephones, plates, kitchen equipment, and

   imported beer and wine, which were used directly in furtherance of Defendants’ commercial

   activity of running a restaurant.

           27.    At all times material hereto, the work performed by the Plaintiff was directly

   essential to the business performed by Defendants.

                                       STATEMENT OF FACTS

           28.    In or about December 2021, Defendants hired Plaintiff to work as a non-exempt

   hourly-paid server and bartender at THIRSTY TURTLE’s location in Fort Pierce, St. Lucie

   County, Florida. Plaintiff was employed by Defendants in this position until June 2022.

           29.    Plaintiff’s job duties, like the other service staff, were serving food and drinks to




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   costumers.

          30.     Defendants paid Plaintiff the tipped minimum wage rather than the regular

   minimum wage for all hours worked.

          31.     Defendants did not permit Plaintiff to retain all of her tips. Instead, Defendants

   required Plaintiff to pay a portion of her tips to salaried managers working on her shifts.

          32.     When Plaintiff was a server, she was required to tip out an amount equal to 2.5%

   of her total sales, from her tips, to the manager. When Plaintiff was bartending in any bar

   except the back bar, Plaintiff was required to tip out an amount equal to 3.5% of her total sales,

   from her tips, to the manager.

          33.     These policies and requirements regarding tipping out managers a portion of

   total sales from amounts received as tips applied equally to all servers and bartenders working

   for Thirsty Turtle in Fort Pierce.

          34.     Upon information and belief, these policies and requirements regarding tipping

   out managers a portion of total sales from amounts received as tips applied equally to all servers

   and bartenders working for all three Thirsty Turtle locations (hereafter “those similarly

   situated”).

          35.     By virtue of Defendants’ appropriation of a portion of its bartender/server

   employees’ tips for salaried managers, Defendants were not entitled to take a tip credit. Rather,

   Defendants were/are required to pay Plaintiff and those similarly situated to Plaintiff, the full,

   regular minimum wage.

          36.     Under the FLSA, an employer who fails to provide information required by

   section 203(m), regarding the tip-credit, cannot use the tip credit provisions and therefore must




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   pay the tipped employee at least the full minimum wage, and allow the tipped employee to keep

   all tips received.

           37.     Defendants did not provide its bartenders/servers the notice required by Section

   203(m) of the FLSA.

           38.     Due to their improper appropriation of bartenders/servers’ tips for Defendants’

   managers, and failure to provide the notice required by Section 203(m), Defendants were not

   entitled to take any tip credit, and failed to pay Plaintiff and the other tipped employees

   similarly situated to Plaintiff at least the applicable minimum wage.

           39.     Due to Defendants’ practices, Plaintiff and those similarly situated did not earn

   at least the statutory minimum wage for all hours worked during one or more workweeks.

           40.     Plaintiff and those similarly situated were/are entitled to at least the Federal

   minimum wage pursuant to §206(a) of the FLSA.

           41.     Plaintiff and those similarly situated were/are entitled to the Florida minimum

   wage pursuant to 29 C.F.R §778.5.

           42.     Defendants have a common pay policy and/or pay practice which violates the

   FLSA tip credit provisions and therefore fail to pay certain hourly employees at least the

   statutory minimum wage for all hours worked per week as a result of:

                  a.     Failing to provide the notice required by Section 203(m); and

                  b.     Requiring their bartenders/servers to share tips with Defendants’

                         managers.

           43.     Because Defendants took a tip credit without proper notice, and appropriated tips

   for their managers, Defendants are not permitted to claim the tip credit, and must re-pay

   Plaintiff, and those similarly situated opt-in Plaintiffs who join this action by filing consents to




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   join, the amount of any tip credit claimed.

          44.     Upon information and belief, Defendants claimed $3.02 per hour in tip credit.

          45.     Because Defendants took a tip credit without proper notice, and appropriated tips

   for their managers, Defendants must disgorge to Plaintiff, and those similarly situated opt-in

   Plaintiffs who join this action by filing consents to join, the amount of any tips which were

   distributed to managers.

          46.     Due to Defendants’ unlawful practices described herein, Plaintiff and those

   similarly situated did not earn at least the statutory minimum wage for all hours worked during

   one or more workweeks.

          47.     Plaintiff and those similarly situated were/are entitled to at least the Federal

   minimum wage pursuant to §206(a) of the FLSA.

          48.     Plaintiff and those similarly situated were/are entitled to the Florida minimum

   wage pursuant to §29 C.F.R §778.5.

          49.     Defendants also maintained a policy pursuant to which they paid their servers

   and bartenders overtime only for hours worked over eighty (80) in a two-week period.

          50.     Defendants did not calculate overtime on a per workweek basis, as required by

   the FLSA.

          51.     Plaintiff and those similarly situated worked over forty hours in a single

   workweek on multiple occasions in the three years before this lawsuit was filed.

          52.     However, due to Defendants’ policies and practices, as described above, Plaintiff

   and those similarly situated were not paid overtime premiums for all hours over forty worked in

   a single workweek.




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          53.     Defendants’ failure to pay proper minimum and overtime wages to Plaintiff and

   those similarly situated was a knowing violation of the law, or, at a minimum, in reckless

   disregard of the law. It is well-settled that hourly employees are to be paid overtime premiums

   for hours over forty in a workweek, and failure to do so disregards well-settled and commonly

   known principles of law. Similarly, it is black letter law that tipped employees cannot be

   required to share tips with managers, and Defendants cannot have enacted a uniform

   requirement to engage in such sharing without recklessly disregarding their obligations under

   the FLSA.

          54.     Defendants’ violation was also willful because Plaintiff complained that the

   practice of paying overtime for hours over eighty in a two-week period, rather than for hours

   over forty in a single workweek, violated the law, but Defendants still did not pay proper

   overtime.

                            COLLECTIVE ACTION ALLEGATIONS

          55.     Plaintiff and the putative collective members are all servers and bartenders in

   Defendants’ three Thirsty Turtle locations, and performed the same or similar job duties as one

   another in that they provided food and beverage services to Defendants’ patrons.

          56.     Plaintiff and the putative collective members were subjected to the same pay

   provisions in that they were all paid the tipped minimum wage, without receiving proper notice

   of Defendants’ intention to claim a tip credit as well as the rules related to tip pooling and

   sharing.

          57.     Plaintiff and the putative collective members were subjected to the same pay

   provisions in that they were all required to share their tips with Defendants’ salaried managers.

          58.     Plaintiff and the putative collective members were subjected to the same pay




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   provisions in that they were all subject to Defendants’ policy and practice of paying overtime

   not for all hours over forty in a workweek, as required by the FLSA, but for hours over 80 in a

   two-week period, such that they were deprived of proper overtime premiums owed under the

   law.

            59.       Defendants’ uniform method of payment to Plaintiff and the putative collective

   members resulted in a violation of the FLSA tip credit provisions and a failure to pay Plaintiffs

   and the putative collective members the required minimum and overtime wages due.

            60.       These policies and practices were equally applicable to Plaintiff and the putative

   collective members.

            61.       Accordingly, the putative collective members are properly defined as:

                  All “Bartenders and Servers” who worked for Defendants at any of their
                  three Thirsty Turtle locations in the three years prior to the date the
                  Complaint in this matter was filed.

            62.       Defendants knowingly, willfully, or with reckless disregard carried out its illegal

   pattern or practice of failing to pay minimum and overtime wages with respect to Plaintiff and

   the putative collective members.

                                            COUNT I
                                    RECOVERY OF MINIMUM WAGES

            63.       Plaintiff incorporates and adopts all allegations contained within Paragraphs 1-62

   above.

            64.       Plaintiff, and those similarly situated, were/are entitled to be paid the applicable

   minimum wage for each hour worked during their employment with Defendants.

            65.       In the three years preceding the filing of the Complaint in this action,

   Defendants failed to pay Plaintiff, and those similarly situated, the applicable minimum wage for

   each hour worked for Defendants.



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           66.      Defendants failed to provide proper notice of their intent to claim the tip credit or

   regarding requirements for the tip pool, as required by 29 U.S.C. §203(m).

           67.      Defendants required its server and bartender employees to share tips with

   management, in violation of the FLSA.

           68.      Because of these policies, Defendants violated the FLSA’s tip-credit provisions

   and the FLSA’s provision on minimum wages (29 U.S.C. §206) in that Plaintiff, and those

   similarly situated, have not been paid the full minimum wage for each hour worked during their

   employment.

           69.      Defendants had specific knowledge that they were paying sub-minimum wages

   to Plaintiff, but still failed to pay Plaintiff at least minimum wages.

           70.      Defendants willfully failed to pay Plaintiffs the applicable minimum wage for

   one or more weeks of work contrary to 29 U.S.C. § 206.

           71.      Based upon information and belief, the employees and former employees of

   Defendants similarly situated to Plaintiff were not paid proper minimum wage for each hour

   worked because Defendants claimed the maximum tip credit for Plaintiff and those similarly

   situated, while requiring them to share tips with managers, and failing to provide proper notice of

   their intention to take the tip credit.

           72.      As a direct and proximate result of Defendants’ deliberate underpayment of

   wages, Plaintiff and those similarly situated have been damaged in the loss of minimum wages,

   as well as payments of tip monies to management, for one or more weeks of work with

   Defendants.

           73.      As a result of these common policies, Plaintiff, and those similarly situated, are

   entitled to receive the difference between the full statutory minimum wage and the hourly wage




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   actually paid to them, in addition to disgorgement of tips paid to management.

            74.    Defendants knew or reasonably should have known their conduct violated the

   FLSA.

            75.    Plaintiff, and those similarly situated, are entitled to an award of reasonable

   attorney’s fees and costs pursuant to 29 U.S.C. §216(b).

                                     COUNT II
                        RECOVERY OF OVERTIME COMPENSATION

            76.    Plaintiff incorporates and adopts all allegations contained within Paragraphs 1-62

   above.

            77.    In the three years preceding the filing of the Complaint in this action, in one or

   more workweeks, Plaintiff and other bartenders/servers worked hours in excess of forty (40)

   hours for which Plaintiff and other bartenders/servers were not compensated at the statutory rate

   of one and one-half times the applicable minimum wage.

            78.    Plaintiff and other bartenders/servers were, and are entitled to be paid at the

   statutory rate of one and one-half the applicable minimum wage for all hours worked in excess of

   forty (40) hours in a workweek.

            79.    Defendants’ actions were willful and/or showed reckless disregard for the

   provisions of the FLSA as evidenced by their failure to compensate Plaintiff and other

   bartenders/servers at the statutory rate of one and one-half times their lowest lawful rate of pay

   for all hours in excess of forty (40) hours per workweek when it knew, or reasonably should have

   known, such was, and is due.

            80.    During the three years preceding the filing of the Complaint in this matter, other

   bartenders/servers were not paid proper overtime for hours worked in excess of forty (40) in one

   or more workweeks because Defendants have failed to properly pay Plaintiff proper overtime



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